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                                                                           FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI~
                                                                      Llr--·.-.~--u~~; ]
                                                                S   ClEtlK il.;>. c:,1 ~'i~ilCT COURT
                                                                B~UTHE~i\I DISTRI ~T OF C UFORNiA
UNITED STATES OF AMERICA,                   CASE NO. 12CR2598~JnL~s:---~~~~r~)E~PI:i~~~'
                                                                                 V
                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
CHRISTINA TAMAR CORBALA (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information:

     8USC1324 (a) (1) (A) (ii) and (v) (II) - Transportation of Illegal Aliens

     and Aiding and Abetting

          IT IS THEREFORE ADJUDGED tha         the defendant is hereby discharged.


 DATED: June 28, 2012


                                             U.S. Magistrate Judge
